Case: 2:19-cv-00208-EAS-EPD Doc #: 29 Filed: 05/16/19 Page: 1 of 15 PAGEID #: 131

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO

EASTERN DIVISION
NOVUS GROUP, LLC, ) Case No. 2:19-cv-00208
Plaintiff, Chief Judge Edmund A. Sargus
Vv. Magistrate Judge Elizabeth Preston Deavers
PRUDENTIAL FINANCIAL INC.,
ET AL., )
Defendants. )

STIPULATED PROTECTIVE ORDER

The Court recognizes that disclosure and discovery activity are likely to arise that will
require the disclosure of trade secrets, confidential research, development, manufacturing,
financial, process, marketing, and business information, or other commercial information within
the meaning of Federal Rule of Civil Procedure 26(c). Good cause exists to protect this
information from public disclosure. In the absence of a suitable protective order safeguarding the
confidentiality of such information, the parties would be hampered in their ability to produce
such information.

Accordingly, the Court ORDERS that the parties shall adhere to the following:

1. DESIGNATION OF PROTECTED MATERIAL

1.1 This Order shall govern all documents and other products of discovery obtained
by the parties from one another, and from third parties, all information copied or derived
therefrom, as well as all copies, excerpts, summaries or compilations thereof, including
documents produced pursuant to requests authorized by the Federal Rules of Civil Procedure,

answers to interrogatories, deposition transcripts, responses to requests for admission, affidavits,
Case: 2:19-cv-00208-EAS-EPD Doc #: 29 Filed: 05/16/19 Page: 2 of 15 PAGEID #: 132

declarations, expert reports, and other such material and information as may be produced during
the course of this litigation.

1.2 In connection with discovery proceedings in this action, any party or third party
may designate any non-public document, material, or information as “CONFIDENTIAL” or
“HIGHLY CONFIDENTIAL — ATTORNEY EYES ONLY” (collectively referred to as
“Protected Material”).

(a) A party may designate as “CONFIDENTIAL” any information, document,
or thing that the party reasonably and in good faith believes to contain confidential
information within the meaning of Fed. R. Civ. P. 26(c)(1)(G) used by it in, or pertaining
to, its business and that is not generally known, and which that party would not normally
reveal to third parties or, if disclosed, would require such third parties to maintain in
confidence.

(b) A party may designate as “HIGHLY CONFIDENTIAL ~ ATTORNEY
EYES ONLY” such materials as the party reasonably and in good faith believes to
contain particularly sensitive technical information relating to research for and production
of current products; technical, business, and research information regarding future
products; non-public and highly sensitive financial information; marketing and sales
information, such as marketing plans and forecasts, customer lists, pricing data, cost data,
customer orders, and customer quotations; any pending or abandoned patent applications,
foreign or domestic; and such other documents, information, or materials that relate to
other proprietary information that the designating party reasonably believes is of such
nature and character that disclosure of such information to the receiving party would be

harmful to the designating party.
Case: 2:19-cv-00208-EAS-EPD Doc #: 29 Filed: 05/16/19 Page: 3 of 15 PAGEID #: 133

1.3 The following information shall not be designated or protected under this
Protective Order:

(a) Information that is in the public domain at the time of disclosure,
including publicly-available publications, catalogs and other advertising materials, press
releases, and publicly-filed financial statements;

(b) Information that at any time is made public through no act of a non-
designating party;

(c) Information that the designating party has not undertaken with others to
maintain in confidence and that is in the possession of or becomes available to the
receiving party other than through discovery in this action, but only if the receiving party
can show by written documentation that the information independently came into its
rightful possession; or

(d) Information that is independently developed by the receiving party, as
reflected by written documentation demonstrated to be in existence prior to production by
the party claiming confidentiality.

1.4 Any documents or things produced pursuant to a discovery request or other
written materials exchanged by the parties (including discovery responses, letters, and briefs)
that a party desires to designate as Protected Material shall be so designated by marking each
page of the document, paper or thing CONFIDENTIAL or HIGHLY CONFIDENTIAL
ATTORNEY EYES ONLY, as appropriate, and indicating the identity of the producing party
(e.g., through the use of an identifying prefix to the document identification (Bates) number).

1.5 In the event a party may make available certain of its files for inspection by

another party, which files may contain non-confidential material as well as material that may be
Case: 2:19-cv-00208-EAS-EPD Doc #: 29 Filed: 05/16/19 Page: 4 of 15 PAGEID #: 134

subject to protection under this Protective Order, with the intent that following such inspection
the inspecting party will designate certain of the inspected documents to be copied and furnished
to it, such files need not be marked with either confidentiality designation in advance, but shall
all be treated as HIGHLY CONFIDENTIAL — ATTORNEY EYES ONLY materials, Only those
persons identified in paragraph 2.2 below as permitted to view HIGHLY CONFIDENTIAL —
ATTORNEY EYES ONLY materials may be present at any such inspection. When the
producing party copies the documents to furnish to the inspecting party, the producing party shall
mark Protected Material with the appropriate confidentiality designation to the extent warranted
under paragraph 1.2,

1.6 Whenever a deposition involves a disclosure of Protected Material, the following
procedures shall apply:

(a) Any party may designate any portion or all of a deposition as
CONFIDENTIAL or HIGHLY CONFIDENTIAL — ATTORNEY EYES ONLY by
notifying the other parties on the record during the deposition. The Court Reporter shail
be asked to make the appropriate confidentiality designation on each page of the
transcript that contains CONFIDENTIAL or HIGHLY CONFIDENTIAL ~ ATTORNEY
EYES ONLY information. At that time, all persons not qualified to receive that category
of information shall leave the room prior to continuation of the deposition and until the
conclusion of such designated testimony; and

(b} Any party may also designate any portion or all of a deposition as
CONFIDENTIAL or HIGHLY CONFIDENTIAL — ATTORNEY EYES ONLY by
notifying the other parties separately in writing within thirty days of receipt of the

transcript. In such event, the parties shall confer as to the most convenient way to
Case: 2:19-cv-00208-EAS-EPD Doc #: 29 Filed: 05/16/19 Page: 5 of 15 PAGEID #: 135

segregate the designated portions of the transcript. All information disclosed at a

deposition and all information contained in deposition transcripts shall be treated as

HIGHLY CONFIDENTIAL — ATTORNEY EYES ONLY for a period of thirty days

after the receipt of the transcript to permit adequate time for review of the transcript and

notice to other counsel regarding any designation as Protected Material by a designating

party. Nothing in this Subsection 1.6(b) is intended to prevent or preclude a party

representative from attending any deposition in accordance with the procedures set for in

Subsection 1.6(a) above.

2. ACCESS TO AND USE OF PROTECTED MATERIAL

2.1 Protected Material, and all summaries, compilations, and derivations thereof,
whether oral or written, shall be maintained in confidence, shall be used solely in the preparation,
prosecution, or trial of this action and not for any other purpose, and shall be disclosed only as
provided in the following paragraphs.

2.2 Information which has been designated as HIGHLY CONFIDENTIAL
ATTORNEY EYES ONLY may be disclosed only to:

(a) The outside attorneys of record and their employees who are engaged in
assisting in this action;

(b) Independent consultants or experts retained by the party or its attorneys in
connection with this action, including technical experts, damage and industry experts, and
jury or trial consultants, together with their employees engaged in assisting in this action
(including mock jurors), but only subject to the provisions of paragraph 2.5 below;

(c) The Court and its personnel;
Case: 2:19-cv-00208-EAS-EPD Doc #: 29 Filed: 05/16/19 Page: 6 of 15 PAGEID #: 136

to:

(d) Court reporters and their personnel engaged in proceedings incident to
preparation for trial or engaged in trial;

(e) Professional vendors and their employees, including copy services, trial
graphics services, and translation services, engaged by counsel; and

(f) Any person who is indicated on the face of a document to have been an
author, addressee, or copy recipient of the document, or the original source of the
information.

2.3 Information that has been designated as CONFIDENTIAL may be disclosed only

(a) The persons identified in paragraph 2.2; and

(b) Any party or employee and/or principal of a party to whom disclosure is
reasonably necessary for this litigant and litigation who has signed the “Agreement to Be
Bound by Protective Order” in Exhibit A.

2.4 Notwithstanding the provisions of paragraph 2.2 above, in order to permit full

evaluation of the parties’ respective positions, the following persons shall also be permitted

access to all motions for summary judgment and all supporting, opposition and reply briefs or

memoranda filed in connection with any such motions; all reports of testifying experts; and all

exhibits or attachments to any of the above:

For Novus: Mark McCanney, Member
Eric Seyboldt, Member
For Defendants: Responsible attorneys within the law department, which at

the time of this order includes:

Jack G. Lerner
Vice President, Corporate Counsel
The Prudential Insurance Company of America
Case: 2:19-cv-00208-EAS-EPD Doc #: 29 Filed: 05/16/19 Page: 7 of 15 PAGEID #: 137

Dolly von Hollen
Vice President, Corporate Counsel | Intellectual Property
The Prudential Insurance Company of America

2.6 Prior to receiving any Protected Material, any persons described in sections (b),
(d), or (e) of paragraph 2.2 shall be furnished with a copy of this Protective Order and shall
execute a copy of the “Agreement to be Bound by Protective Order” attached as Exhibit A. A
copy of the signed Agreement shall be maintained by counsel for the party providing such
access.

2.7 Nothing in this Protective Order shall prevent any counsel of record from utilizing
Protected Material in the examination of any person who is reasonably alleged to be the author or
source of the Protected Material or who is reasonably believed to have knowledge relating
thereto. In addition,

(a) _ Parties and present employees of the parties, or employees of third parties,
may be examined as a witness at depositions and trial and may testify conceming all
Protected Material produced or designated by that party, or by the employee’s employer
if a third party;

(b) Former employees of the parties, or former employees of third parties,
may be examined and may testify concerning all Protected Material produced or
designated by the party or third party that formerly employed such person and which
pertains to the period or periods of his/her employment and prior thereto; and

(c) Former experts of the parties may be examined and may testify concerning
all Protected Material produced or designated by the respective party that pertains to the

subject matter of his/her consultation.
Case: 2:19-cv-00208-EAS-EPD Doc #: 29 Filed: 05/16/19 Page: 8 of 15 PAGEID #: 138

2.8 Nothing in this Protective Order shall preclude any party from introducing
Protected Material into evidence at any evidentiary hearing or at trial. However, if anyone
intends to introduce or refer to Protected Material at any hearing or trial, the party wishing to
make the disclosure shall first notify the producing party and provide that party with an
opportunity to object and/or to ask the Court to take appropriate precautionary procedures (e.g.,
clearing the Courtroom, sealing the record, etc.).

2.9 Nothing in this Protective Order shall bar or otherwise restrict any attorney from
rendering advice to his/her clients with respect to this litigation and referring to or relying
generally upon his/her examination of Protected Material, provided that in rendering such advice
and in otherwise communicating with his/her clients, the attorney shall not disclose the content
of such information.

2.10 All persons in possession of Protected Material shall exercise reasonable and
appropriate care with regard to the storage, custody, and use of such information in order to
ensure that the provisions of this Protective Order are observed and the confidential nature of the
information is maintained.

3. CHALLENGES TO CONFIDENTIALITY DESIGNATIONS

3.1. Any party believing that particular information has been improperly marked, i.e.,
that it is not in fact CONFIDENTIAL or HIGHLY CONFIDENTIAL — ATTORNEY EYES
ONLY, may challenge such designation at any time by raising the issue, in writing to the
designating party, and specifically identifying, by document identification (Bates) number, by
deposition page and line, or by other appropriate specific identifier, the information whose

confidentiality status is challenged. Within ten business days of receipt of such writing, the
Case: 2:19-cv-00208-EAS-EPD Doc #: 29 Filed: 05/16/19 Page: 9 of 15 PAGEID #: 139

designating party shall either remove or reduce the designation, or respond that it has reviewed
the matter and continues to maintain the designation in good faith.

3.2 The parties shall endeavor in good faith to resolve any such dispute without
calling upon the intervention of the Court. If the designating party maintains its designation and
the parties are unable to reach agreement, the challenging party may bring the issue to the Court,
The party asserting confidentiality shall have the burden of establishing the appropriateness of
the designation, except that a party claiming that information designated by the other as
confidential is in the public domain shall have the burden of proving such public knowledge.

3.3. Challenged information shall be treated as designated until the resolution of the
dispute by the parties or ruling by the Court.

4, FILING OF PROTECTED MATERIAL

4.1 This Protective Order does not authorize filing protected materials under seal.
According to the authority of Procter & Gamble Co. v. Bankers Trust Co., 78 F.3d 219 (6th Cir.
1996), no document may be filed with the Court under seal without prior permission as to each
such filing, upon motion and for good cause shown, including the legal basis for filing under
seal. Unless the Court orders otherwise, all sealed documents shall be filed according to 8. D.
Ohio Civ. R. 5.2.1.

5. TERMINATION OF LITIGATION

5.1 The obligations of this Protective Order shall survive the termination of the action
and continue to bind the parties. Within sixty days after termination of this action by judgment,
settlement, or otherwise from which no appeal can be brought, each party shall destroy all
documents containing or disclosing Protected Material of any other party; provided, however,

that neither party shall have the obligation to destroy documents from archived media that is not
Case: 2:19-cv-00208-EAS-EPD Doc #: 29 Filed: 05/16/19 Page: 10 of 15 PAGEID #: 140

reasonably accessible (e.g., backups). Each party’s outside litigation counsel shall have the right
to retain one copy of the pleadings; of motions, memoranda, documents, and papers filed with
the Court; of deposition transcripts and exhibits; and of any documents constituting work
product.

6. THIRD PARTY DISCOVERY

6.1 In the event that any third party shall be called upon, by subpoena or otherwise, to
provide or produce documents or information considered CONFIDENTIAL or HIGHLY
CONFIDENTIAL — ATTORNEY EYES ONLY by such third party, such third party may elect
to have its information treated in accordance with the terms of this Protective Order by so
notifying counsel for all parties in writing. Upon service of such notice, such third party may
designate documents and information as CONFIDENTIAL or HIGHLY CONFIDENTIAL -
ATTORNEY EYES ONLY in the manner set forth in this Protective Order, and such third
party’s designated information shall be protected in the same manner as that of the parties to this
action.

7. INADVERTENT DISCLOSURE AND RULE 502

7.1 If a party inadvertently discloses any document or thing containing information
that it deems CONFIDENTIAL or HIGHLY CONFIDENTIAL — ATTORNEY EYES ONLY
without designating it pursuant to this Protective Order, the disclosing party shall promptly upon
discovery of such inadvertent disclosure inform the receiving party in writing, forwarding a
replacement copy of the inadvertently disclosed material properly marked with the appropriate
confidentiality designation. The receiving party shall thereafter treat the information as if it had
been properly marked from the outset and shall make a reasonable effort to retrieve and destroy

the unmarked version of the inadvertently disclosed material, Disclosure by the receiving party
Case: 2:19-cv-00208-EAS-EPD Doc #: 29 Filed: 05/16/19 Page: 11 of 15 PAGEID #: 141

to unauthorized persons before being notified of the inadvertent disclosure shall not constitute a
violation of this Protective Order. Nothing in this Protective Order shall preclude the receiving
party from challenging the confidentiality designation of the late-marked material pursuant to the
provisions of paragraph 3.

7.2 As to the production of privileged or work-product protected documents, ESI, or
other information:

(a) The production of privileged or work-product protected documents, ESI,
or other information, whether inadvertent or otherwise, and regardless of care taken to
prevent or rectify the disclosure, is not a waiver of the privilege or protection from
discovery in this case or in any other federal proceeding. This Protective Order shall be
interpreted to provide the maximum protection allowed by Federal Rule of Evidence
(FRE) 502, shail supersede the tripartite non-waiver elements of Fed. R. Evid. 502(b),
and shall be enforceable and granted full faith and credit in all other state and federal
proceedings by 28 U.S. Code § 1738. In the event of any subsequent conflict of law, the
law that is most protective of privilege and work product shall apply.

(b) ‘If a producing party produces or otherwise discloses to a receiving party
information that is subject to such privilege or immunity, the producing party shall
promptly upon discovery of such disclosure so advise the receiving party in writing and
request that the disclosed information be returned. The receiving party shall return all
copies of the produced material within five business days of receipt of the request. Any
notes or summaries referring or relating to any such privileged material shall be
destroyed. Nothing in this Protective Order shall preclude the receiving party returning

the material as to which privilege is asserted from presenting the information to the court
Case: 2:19-cv-00208-EAS-EPD Doc #: 29 Filed: 05/16/19 Page: 12 of 15 PAGEID #: 142

under seal as permitted by Fed. R. Civ. P. 26(b)(5)(B) and seeking an order compelling
the production of information previously produced.

(c) Documents comprising attorney-client communications and/or attorney or
expert work product concerning the preparation of this lawsuit, defense of this lawsuit,
prosecution of this lawsuit, and analysis of this lawsuit and/or notice or threat of this
lawsuit need not be included on a privilege log otherwise required by Fed. R. Civ. P.
26(b)(5).

8. MISCELLANEOUS PROVISIONS

8.1 If Protected Material in the possession of any receiving party is subpoenaed by
any court, by any administrative or legislative body, or by any other person purporting to have
authority to subpoena such information, or is the subject of any discovery request under Rules
30-36 of the Federal Rules of Civil Procedure or any comparable rule of court or of any
adjudicative body (such subpoena or discovery request collectively referred to as a “Third Party
Request”), the party to whom the Third Party Request is directed will not produce such
information without first giving prompt written notice (including a copy of the Third Party
Request) to the attorneys of record for the producing party, no more than three business days
after receiving the Third Party Request. The party receiving the Third Party Request must also
promptly inform in writing the party who caused the Third Party Request to issue in the other
litigation that some or all the material covered by the Third Party Request is subject to this
Protective Order. The party receiving the Third Party Request must deliver a copy of this
Protective Order promptly to the party in the other action that caused the Third Party Request to

issue.
Case: 2:19-cv-00208-EAS-EPD Doc #: 29 Filed: 05/16/19 Page: 13 of 15 PAGEID #: 143

8.2 The producing party shall bear the burden and expense of seeking protection in
court of its own Protected Material, and nothing in this Protective Order should be construed as
authorizing or encouraging a party receiving a Third Party Request in this action to disobey a
lawful directive from another court. Disclosure of information in response to a properly issued
Third Party Request shall not constitute a violation of this Protective Order.

8.3. This Protective Order may be modified only by further Order of the Court,
whether sua sponte or by agreement of the parties or their counsel and approval by the Court, and
is without prejudice to the rights of any party to move for relief from any of its provisions, or to
seek or agree to different or additional protection for any particular material or information.

8.4 Treatment by counsel or the parties of information designated CONFIDENTIAL
or HIGHLY CONFIDENTIAL — ATTORNEY EYES ONLY as designated shall not be
construed as an admission by any party that the designated information contains trade secrets or
other proprietary or confidential information. Conversely, failure to so designate shall not
constitute a waiver of any party’s claims, either within or outside this action, that any such
documents or information do contain trade secrets or other proprietary or confidential
information.

8.5 No party shall be obligated to challenge the propriety of any designation, and
failure to challenge a claim of confidentiality at the time of receipt shall not constitute a waiver

of the right to challenge a confidentiality designation at any later time.

SO ORDERED:

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Case: 2:19-cv-00208-EAS-EPD Doc #: 29 Filed: 05/16/19 Page: 14 of 15 PAGEID #: 144

Agreed to by:

Attorneys for Plaintiff:

/s/ Gerhardt A. Gosnell I (via email
authorization 5.15.19)

James E. Arnold (OH 0037712)

Trial Attorney

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Case: 2:19-cv-00208-EAS-EPD Doc #: 29 Filed: 05/16/19 Page: 15 of 15 PAGEID #: 145

EXHIBIT A

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO

EASTERN DIVISION
NOVUS GROUP, LLC, Case No. 2:19-cv-00208
Plaintiff, Chief Judge Edmund A. Sargus
Vv. Magistrate Judge Elizabeth Preston

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PRUDENTIAL FINANCIAL INC.,, )
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ET AL.,
Defendants.
AGREEMENT TO BE BOUND BY PROTECTIVE ORDER
I, , hereby acknowledge that I received a copy of the

 

Protective Order in this action. I read and understood the Protective Order and agree to be bound
by its provisions. I agree not to copy or use any CONFIDENTIAL or HIGHLY
CONFIDENTIAL — ATTORNEY EYES ONLY information that may be provided to me for any
purpose other than in connection with my retention in connection with this action, and I agree
not to reveal any such information to any person not authorized by the Protective Order.

I further acknowledge and understand that a violation of the Protective Order may subject
me to penalties of the Court, and I hereby submit to the jurisdiction of the United States District
Court for the Southern District of Ohio in connection with any proceedings concerning

enforcement of the Protective Order.

Dated:

 
